        Case 1:15-cr-10271-WGY Document 161 Filed 05/17/19 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


                                           )
UNITED STATES OF AMERICA                   )
                                           )
V.                                         )         Crim. No. 15-cr-10271-WGY
                                           )
ALEX LEVIN                                 )
                                           )

  DEFENDANT’S MOTION IN LIMINE TO EXCLUDE REFERENCES TO NO
              LONGER EXISTING COMPUTER FILES

       The defendant, Alex Levin, moves this Court to exclude from evidence any and all

documents offered by the government that reference titles of files discovered on the

defendant’s computer, the contents of which no longer exist. As grounds, the defendant

states that allowing references to the names of files that no longer exist on the laptop will

invite the jury to speculate as to their contents.

       The government provided the defendant with discovery that references files on the

defendant’s computer titled “Pedowoman” and “P3D0W0M3N.” The screenshots

depicting the file names indicate that they are “lnk” files which direct to other media files

on the laptop. These screenshots are appended to this motion as Exhibit 1. The

government separately supplied the defendant with a list of each of the files that were

located on the computer and contained child pornography. The list does not include the

files that are related to the “Pedowoman” and “P3D0W0M3N” lnk files. There is no

indication that the government located these files on the defendant’s laptop, and no

indication as to what they actually contained.


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        Case 1:15-cr-10271-WGY Document 161 Filed 05/17/19 Page 2 of 5




       An lnk file is essentially a shortcut to another file located somewhere on a

computer. 1 Another way to think of an lnk file is as a “pointer.” United States v. Althage,

No. 4:10 CR 225 CDP, 2011 WL 13189794, at *3 (E.D. Mo. June 3, 2011). Lnk files

indicate prior access to the other files associated with them. Id. In this case, the files that

are associated with the lnk files appear to no longer exist on the laptop.

       The titles of these files do not necessarily describe their contents. There is simply

no way to determine based solely on the names of the files what they would actually

depict. Admission of this evidence would do nothing more than invite the jury to

speculate. Needless to say, the government must prove that any image, video, or file

believed to contain child pornography does in fact depict such material. That the files

have suggestive titles is insufficient to establish that they are in fact pornographic. If the

government is unable to establish the contents of the files, it should not be permitted to

introduce their names in order to suggest to the jury that they contained child

pornography at one time.

       WHEREFORE, the defendant moves that this motion be allowed and any

references to these files be excluded from evidence.

                                                    ALEX LEVIN
                                                    By his attorneys,
                                                    CARNEY & ASSOCIATES

                                                    J. W. Carney, Jr.
                                                    J. W. Carney, Jr.
                                                    B.B.O. # 074760

1
 See Opening an LNK File, https://filext.com/file-extension/LNK, (last visited May 17,
2019).

                                               2
      Case 1:15-cr-10271-WGY Document 161 Filed 05/17/19 Page 3 of 5




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May 17, 2019




                                    3
        Case 1:15-cr-10271-WGY Document 161 Filed 05/17/19 Page 4 of 5




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                                         )
UNITED STATES OF AMERICA                 )
                                         )
V.                                       )        Crim. No. 15-cr-10271-WGY
                                         )
ALEX LEVIN                               )
                                         )

    AFFIDAVIT SUPPORTING DEFENDANT’S MOTION IN LIMINE TO
  EXCLUDE REFERENCES TO NO LONGER EXISTING COMPUTER FILES

      I, J. W. Carney, Jr., state that the facts contained in the attached motion are true to

the best of my information and belief.

      Signed under the penalties of perjury.


                                                  J. W. Carney, Jr.
                                                  J. W. Carney, Jr.

May 17, 2019




                                             4
        Case 1:15-cr-10271-WGY Document 161 Filed 05/17/19 Page 5 of 5




                                   Certificate of Service

       I hereby certify that this document filed through the ECF system will be sent
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or before the above date.



                                                  Daniel J. Gaudet
                                                  Daniel J. Gaudet




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